Case 17-11141-amc             Doc 56Filed 02/02/18 Entered 02/02/18 16:17:28                        Desc Main
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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                                                 CHAPTER 13
                                                                 :
 OUMOU STATON
                                                                 :
 A/K/A QUMOU THOMAS                                                     BK. No. 17-11141 AMC
                                                                 :
 STEPHEN THOMAS (Non-Filing Co-Debtor)
                                                                 :
                         Debtors

                                    CERTIFICATION OF DEFAULT


                  PHELAN HALLINAN DIAMOND & JONES, LLP, attorneys for Movant, hereby certifies

that the above-captioned Debtors has failed to comply with the terms of the Stipulation approved by the U.S.

Bankruptcy Judge ASHELY M. CHAN on October 27, 2017.

                  In accordance with the terms of said Stipulation agreed to by the parties, the Automatic Stay is

hereby lifted as to permit Movant to proceed with their State Court remedies upon Debtors' property. Movant

further certifies that the required Notice of Default was sent to Debtors and Debtors' attorney and Debtors has

failed to cure the default.

 Dated: February 2, 2018                                   /s/ Jerome Blank, Esquire
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